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                           Exhibit 4
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                   V.R., ET AL. vs COUNTY OF SAN BERNARDINO, ET AL.
                                Deputy Thun Houn on 12/18/2020                             ·

    ·1· · · · · · · · · ·UNITED STATES DISTRICT COURT

    ·2· · · · · · · · · CENTRAL DISTRICT OF CALIFORNIA

    ·3

    ·4·   ·V.R., a minor, by and through her· · · )
    · ·   ·guardian ad litem Ariana Toscano,· · · )
    ·5·   ·individually and as successor in· · · ·)
    · ·   ·interest to Juan Ramon Ramos, deceased;)
    ·6·   ·and RAMONA TERRAZAS, individually,· · ·)
    · ·   · · · · · · · · · · · · · · · · · · · · )
    ·7·   · · · · · · · · Plaintiffs,· · · · · · ·)
    · ·   · · · · · · · · · · · · · · · · · · · · )
    ·8·   · · · · · · · · vs.· · · · · · · · · · ·)Case No.
    · ·   · · · · · · · · · · · · · · · · · · · · )5:19-CV-01023-JGB-SP
    ·9·   ·COUNTY OF SAN BERNARDINO; GARY WHEELER;)
    · ·   ·THUN HOUN; JASON CALVERT; and DOES 4-· )
    10·   ·10, inclusive,· · · · · · · · · · · · ·)
    · ·   · · · · · · · · · · · · · · · · · · · · )
    11·   · · · · · · · · ·Defendants.· · · · · · )
    · ·   ·_______________________________________)
    12

    13

    14· · · · · · · ·REMOTE VIDEOCONFERENCE DEPOSITION OF

    15· · · · · · · · · · · · ·DEPUTY THUN HOUN

    16· · · · · · · · · · ·FRIDAY, DECEMBER 18, 2020

    17

    18

    19

    20

    21

    22

    23· ·Reported Stenographically by:

    24· ·Jinna Grace Kim, CSR No. 14151

    25· ·Job No.:· 319099


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    ·1· · · ·A.· ·Almost two years before I went on patrol.
    ·2· · · ·Q.· ·Did you go through a period of field training for
    ·3· ·patrol?
    ·4· · · ·A.· ·I did.
    ·5· · · ·Q.· ·And at the time of the incident we're here to talk
    ·6· ·about, were you assigned to patrol?
    ·7· · · ·A.· ·Yes, I was.
    ·8· · · ·Q.· ·Are you still assigned to patrol?
    ·9· · · ·A.· ·Yes, I am.
    10· · · ·Q.· ·Now, in this case did you have a bean bag shotgun?
    11· · · ·A.· ·I did.
    12· · · ·Q.· ·And did you deploy it during this incident with
    13· ·Mr. Ramos?
    14· · · ·A.· ·I did.
    15· · · ·Q.· ·How many times did you deploy it?
    16· · · ·A.· ·Three times, sir.
    17· · · ·Q.· ·Did you have training with respect to the bean bag
    18· ·shotgun?
    19· · · ·A.· ·Yes.
    20· · · ·Q.· ·Before the day of the incident with Mr. Ramos, had
    21· ·you use the bean bag shotgun before in the field?
    22· · · ·A.· ·Yes.
    23· · · ·Q.· ·On how many prior occasions?
    24· · · ·A.· ·I know one time for sure.· That was between one and
    25· ·two times throughout my career before that.

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    ·1· · · ·Q.· ·Okay.· What is your training with respect to when
    ·2· ·you can use the bean bag shotgun?
    ·3· · · ·A.· ·So the bean bag shotgun, less-lethal force, it has
    ·4· ·the potential to cause injury, but it has minimal probability
    ·5· ·of causing serious injuries or a lethal -- we use it when,
    ·6· ·for example, in this case when you know a subject has a knife
    ·7· ·and was not compliant.
    ·8· · · ·Q.· ·And are you aware from your training that the bean
    ·9· ·bag could leave a visible injury on the person shot?
    10· · · ·A.· ·Yes.
    11· · · ·Q.· ·And are there certain areas you tried to avoid?
    12· · · ·A.· ·Yes.
    13· · · ·Q.· ·What areas do you try to avoid?
    14· · · ·A.· ·Anything over the neck and like the below the groin,
    15· ·like the belly button area.
    16· · · ·Q.· ·Based on your training why do you try to avoid those
    17· ·areas?
    18· · · ·A.· ·Probably has a higher probability of causing serious
    19· ·injury, or, you know, maybe some concern instance.
    20· · · ·Q.· ·So basically you avoid the head or the groin because
    21· ·that could potentially cause serious injury?
    22· · · ·A.· ·Correct.
    23· · · ·Q.· ·When you fired the first time was that when
    24· ·Mr. Ramos got out of the car the first time?
    25· · · ·A.· ·Yes.

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    ·1· · · ·Q.· ·And how many times did you fire in that sequence?
    ·2· · · ·A.· ·I fired it three times.
    ·3· · · ·Q.· ·All three times would be when he got out of the car
    ·4· ·the first time?
    ·5· · · ·A.· ·Correct.
    ·6· · · ·Q.· ·And what is involved in firing consecutive rounds?
    ·7· · · · · · In other words, do you just need to press the
    ·8· ·trigger, or do you need to somehow load the next round?
    ·9· · · · · · Can you explain that?
    10· · · ·A.· ·Sure.· So after you discharge a round, you would
    11· ·have to rack the rail of the shotgun to inject another round
    12· ·to the chamber, and then you have to do that every time you
    13· ·fire.
    14· · · ·Q.· ·So when you fired the first round where was
    15· ·Mr. Ramos?· Somewhere close to the opened door of his car?
    16· · · ·A.· ·Correct.
    17· · · ·Q.· ·And where were you located when you fired the first
    18· ·round?
    19· · · ·A.· ·I was maybe about 40 to 50 feet away from him.
    20· · · ·Q.· ·And were you near a vehicle?
    21· · · ·A.· ·Yes.· There was a parked vehicle.· I don't know if
    22· ·was on the driveway, but it was near the driveway.
    23· · · ·Q.· ·Do you recall what type of vehicle it was?
    24· · · ·A.· ·I don't.
    25· · · ·Q.· ·Was it a civilian vehicle?

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    ·1· · · ·A.· ·Yes.· It was not a police vehicle.
    ·2· · · ·Q.· ·Where were you positioned relative to that
    ·3· ·vehicle?
    ·4· · · ·A.· ·I want to say maybe on the -- again, I don't know
    ·5· ·how -- I don't remember how the vehicle was parked, but I
    ·6· ·know I was between the vehicle and the fence line of the
    ·7· ·house.
    ·8· · · ·Q.· ·Now, do you have training with respect to the
    ·9· ·distance you can use the bean bag shotgun?
    10· · · ·A.· ·Yes.
    11· · · ·Q.· ·And what is your training in that regard?
    12· · · ·A.· ·My policy says anywhere between 20 to 50 feet is
    13· ·acceptable, generally should be used under 25.
    14· · · ·Q.· ·And what is your understanding why of it shouldn't
    15· ·be used at a short distance?
    16· · · ·A.· ·Again, because it can harm the -- the probability of
    17· ·causing a serious injury or it can become lethal.
    18· · · ·Q.· ·So similar to the reason with respect so not aiming
    19· ·at the head or the face or the groin?
    20· · · ·A.· ·Correct.
    21· · · ·Q.· ·So generally 20 to 50 feet and try to avoid hitting
    22· ·the face, head, or groin?
    23· · · ·A.· ·Correct.
    24· · · ·Q.· ·And you indicated based on your training it could be
    25· ·appropriate to use in a situation where someone, for example,

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    ·1· ·has a knife?
    ·2· · · ·A.· ·Correct.· And if it wasn't in compliance or with our
    ·3· ·commands.
    ·4· · · ·Q.· ·In other words, a knife alone lone might not be
    ·5· ·enough, but if he has a knife and he is not complying with
    ·6· ·the commands, then that might be a situation where you can
    ·7· ·use it?
    ·8· · · ·A.· ·Yes.
    ·9· · · ·Q.· ·Now, how did you end up with the bean bag shotgun?
    10· · · · · · Did someone designate you to that task?
    11· · · ·A.· ·Yes.· As soon as we stopped our vehicle after the
    12· ·pursuit, I walked to Sergeant Wheeler and asked if he needed
    13· ·a bean bag shot gun.· Again, because we wanted to have that
    14· ·force option available.· So he said yes, and I went to the
    15· ·back of my patrol unit and grabbed the bean bag and load
    16· ·it.
    17· · · ·Q.· ·You had one in your patrol unit?
    18· · · ·A.· ·Yes.
    19· · · ·Q.· ·And how many rounds can you load in it?
    20· · · ·A.· ·You can load -- if you put one in the chamber, about
    21· ·five, but we always do four because that's what comes in a
    22· ·box.
    23· · · ·Q.· ·And was there any discussion with Sergeant Wheeler
    24· ·or anyone else about, you know, when you would use it?
    25· · · · · · In other words, if he exited the car, for example,

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    ·1· ·and was not complying?
    ·2· · · ·A.· ·No.· We never said, hey, you know, if he comes out
    ·3· ·of the car and he's not complying, use it.· It was based on
    ·4· ·what I saw because the force option was, you know, in my
    ·5· ·hand, and I was responsible for it.
    ·6· · · · · · Does that make sense --
    ·7· · · ·Q.· ·Yeah.· So there was no specific discussion when you
    ·8· ·would use it.· You would just based on your training decide
    ·9· ·when it was appropriate?
    10· · · ·A.· ·Correct.
    11· · · ·Q.· ·Okay.· Did you become aware at some point that they
    12· ·were thinking of using a K-9?
    13· · · ·A.· ·Yeah.· I heard a radio call go out for a dog, and
    14· ·that's why I knew there were going to be a dog on-scene.
    15· · · ·Q.· ·At some point you saw a K-9 on-scene?
    16· · · ·A.· ·Yes.
    17· · · ·Q.· ·And if you recall was that from a different
    18· ·department?
    19· · · ·A.· ·Yeah.· I believe it was Rialto.
    20· · · ·Q.· ·Were you on-scene when Sergeant Wheeler broke the
    21· ·window on the Ramos vehicle?
    22· · · ·A.· ·Yes, I was.
    23· · · ·Q.· ·Were you able to hear the glass shatter from your
    24· ·position?
    25· · · ·A.· ·Yes.

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    ·1· · · ·Q.· ·And did you observe the K-9 and the handler approach
    ·2· ·the passenger side of the Ramos vehicle at that point in
    ·3· ·time?
    ·4· · · ·A.· ·Yes.
    ·5· · · ·Q.· ·Prior to that had you ever seen Ramos with the box
    ·6· ·cutter in his hand?
    ·7· · · ·A.· ·Yes.· I was on the initial traffic stop with
    ·8· ·Sergeant Wheeler.
    ·9· · · ·Q.· ·So you were aware that he had a box cutter?
    10· · · ·A.· ·Yes.
    11· · · ·Q.· ·And prior to the window being broken out by Sergeant
    12· ·Wheeler, was the vehicle pretty much in the same spot for an
    13· ·extended period of time?
    14· · · ·A.· ·Yes.· You're talking about when it stopped and we
    15· ·put the patrol vehicle behind?
    16· · · ·Q.· ·Yes.· Correct.
    17· · · ·A.· ·Yes.
    18· · · ·Q.· ·And whose vehicle was behind it?
    19· · · · · · Was that Sergeant Wheeler?
    20· · · ·A.· ·I believe so.
    21· · · ·Q.· ·Was there any contingency set up for what you would
    22· ·do if the vehicle went forward and took off?
    23· · · ·A.· ·Contingency for what I would do?
    24· · · ·Q.· ·I mean -- by contingency, I kind of used an
    25· ·ambiguous term.

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 ·1· · · · · · In other words, was there any discussion that --
 ·2· ·hey, I don't think the vehicle can go back because we got a
 ·3· ·car behind it, but if it goes forward, here's what we're
 ·4· ·going to do.
 ·5· · · ·A.· ·Yes.· I think I heard one of the aviation unit
 ·6· ·direct our unit to an opening out of a -- I want to say out
 ·7· ·of the way or behind the dirt field towards the street.
 ·8· · · · · · IS that what you're talking about?
 ·9· · · ·Q.· ·Yeah.· Basically.
 10· · · ·A.· ·Okay.· Yeah.
 11· · · ·Q.· ·So did you have any information that Mr. Ramos had
 12· ·seriously injured anyone during the time he was sitting in
 13· ·the car in front of that house?
 14· · · ·A.· ·No.
 15· · · ·Q.· ·Did you ever have any information he had committed
 16· ·any serious felony?
 17· · · ·A.· ·Serious, what do you mean?
 18· · · ·Q.· ·Violent felony, for example.
 19· · · ·A.· ·No.
 20· · · ·Q.· ·Did you have any information that he had been
 21· ·involved in any incident where he had injured anyone?
 22· · · ·A.· ·No.
 23· · · ·Q.· ·Any information that he had ever been violent with
 24· ·anyone his entire life?
 25· · · ·A.· ·No.

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 ·1· · · ·Q.· ·Did you have specific information whether he was
 ·2· ·under the influence of alcohol?
 ·3· · · ·A.· ·No.
 ·4· · · ·Q.· ·Did you know if he had a mental illness or not?
 ·5· · · ·A.· ·No.
 ·6· · · ·Q.· ·Did you discuss with any of his family members what
 ·7· ·was going on with him at any time before you fired your bean
 ·8· ·bag?
 ·9· · · ·A.· ·I did.
 10· · · ·Q.· ·And what do you recall about that?
 11· · · ·A.· ·They told me he was on drugs.
 12· · · ·Q.· ·Did you understand them to be family members?
 13· · · ·A.· ·That's what they told me.· They told me they were
 14· ·cousins of his.
 15· · · ·Q.· ·Was there any discussion about what type of drug it
 16· ·is or anything like that?
 17· · · ·A.· ·I think they told me he was on meth.
 18· · · ·Q.· ·Do you know if there were any officers there that
 19· ·had a Taser?
 20· · · ·A.· ·Yes.· I believe Sergeant Calvert.
 21· · · ·Q.· ·So after the window was knocked out, did you see the
 22· ·vehicle move forward at some point?
 23· · · ·A.· ·Yes.
 24· · · ·Q.· ·And is that when Mr. Ramos got out of the first
 25· ·time?

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 ·1· · · ·A.· ·Yeah.· After the vehicle moved forward and I don't
 ·2· ·know if it crashed cracked into the ditch, but -- came to
 ·3· ·save him, and that's when he popped out.
 ·4· · · ·Q.· ·And is that when you fired your bean bag rounds?
 ·5· · · ·A.· ·Yes.· Right.· After when he popped out and I saw he
 ·6· ·still had a knife, I told him drop the knife, and I went bean
 ·7· ·bag and fired.· Again, the rounds were ineffective and
 ·8· ·started -- I still gave him commands to put it down.
 ·9· · · ·Q.· ·When you say the knife, you're referring to the box
 10· ·cutter?
 11· · · ·A.· ·Yes.
 12· · · ·Q.· ·Okay.· Do you remember what color it was?
 13· · · ·A.· ·Yes.
 14· · · ·Q.· ·What color?
 15· · · ·A.· ·It was a bright orange.
 16· · · ·Q.· ·Was a bright color?
 17· · · ·A.· ·Uh-huh.
 18· · · ·Q.· ·Is that a yes?
 19· · · ·A.· ·Yes.
 20· · · ·Q.· ·The court reporter, if you say uh-huh or huh-uh, she
 21· ·might not know what you mean.
 22· · · ·A.· ·I'm sorry.
 23· · · ·Q.· ·That's okay.· Where were you aiming on Mr. Ramos
 24· ·when you fired your first bean bag round?
 25· · · ·A.· ·At the stomach.

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 ·1· · · ·Q.· ·Is there anything on that weapon to help you aim?
 ·2· · · ·A.· ·Yes.
 ·3· · · ·Q.· ·And what is that?
 ·4· · · ·A.· ·We have a sight.
 ·5· · · ·Q.· ·About were you using your sight?
 ·6· · · ·A.· ·Yes.
 ·7· · · ·Q.· ·How much time passed from the first round to the
 ·8· ·second round?
 ·9· · · ·A.· ·It was maybe between four or five seconds.· I wasn't
 10· ·counting, a couple seconds.
 11· · · ·Q.· ·And then what did you have to do between the
 12· ·rounds?
 13· · · ·A.· ·I had to rack it -- is that what you're talking
 14· ·about?
 15· · · ·Q.· ·Yes.
 16· · · ·A.· ·Reload -- yes.
 17· · · ·Q.· ·Where were you aiming with the second round?
 18· · · ·A.· ·Again, in the stomach area.
 19· · · ·Q.· ·Do you know if either one of those rounds struck
 20· ·him?
 21· · · ·A.· ·I believe they struck him because I saw him
 22· ·flinching from the rounds.
 23· · · ·Q.· ·Are you -- do you generally believe you're a good
 24· ·shot?
 25· · · ·A.· ·Yeah.

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 ·1· · · ·Q.· ·Okay.· There is no shame in that.· Some people
 ·2· ·may be better shot than others.
 ·3· · · · · · So how about your third shot, do you think you
 ·4· ·struck him with your third shot?
 ·5· · · ·A.· ·I believe so.· Again, I saw him doing the same
 ·6· ·thing.
 ·7· · · ·Q.· ·So you fired three times and you believe you struck
 ·8· ·him three times?
 ·9· · · ·A.· ·Correct.
 10· · · ·Q.· ·And the reason you believe that you struck him was
 11· ·because you saw him flinching with each shot?
 12· · · ·A.· ·Yes.
 13· · · ·Q.· ·And was he in the area of the open door of his
 14· ·vehicle for the three shots?
 15· · · ·A.· ·Yes.· It was near there.
 16· · · ·Q.· ·Was he ever advancing toward you for any of the
 17· ·shots?
 18· · · ·A.· ·No, he was not.
 19· · · ·Q.· ·Did you see him advancing towards anyone else for
 20· ·any of the shots?
 21· · · ·A.· ·No.
 22· · · ·Q.· ·And then at some point did you see him go back to
 23· ·the car?
 24· · · ·A.· ·Yes.
 25· · · ·Q.· ·And were you still near that civilian vehicle you

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 ·1· ·spoke about earlier?
 ·2· · · ·A.· ·Yeah.· Maybe I advanced a few feet, but not too far
 ·3· ·away from that vehicle.
 ·4· · · ·Q.· ·Did you observe him get out of the car again?
 ·5· · · ·A.· ·Yes.
 ·6· · · ·Q.· ·And where were you when he got out of the car
 ·7· ·again?
 ·8· · · ·A.· ·Again, I was a few feet away from the civilian
 ·9· ·vehicle.· So maybe this time I would give a distance of maybe
 10· ·30 or 40 feet away.
 11· · · ·Q.· ·So maybe a little bit closer?
 12· · · ·A.· ·Yes.
 13· · · ·Q.· ·Did you fire when he got out of the car again?
 14· · · ·A.· ·No.
 15· · · ·Q.· ·Were you aiming at him at any point?
 16· · · ·A.· ·No.· It's because his movement, it seemed like he
 17· ·wasn't -- I couldn't get a sight measure.
 18· · · · · · Does that make sense?
 19· · · ·Q.· ·Yeah.· Do you think like when he got out rather than
 20· ·being stationary, he started running away very quickly?
 21· · · ·A.· ·Yes.· His movement was very quick.
 22· · · ·Q.· ·So you might have been trying to get in a position,
 23· ·but he moved too quick?
 24· · · ·A.· ·Correct.
 25· · · ·Q.· ·And at some point did you see him starting to run

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 ·1· ·away from the car?
 ·2· · · ·A.· ·I did see him running northbound.
 ·3· · · ·Q.· ·What did you do when you saw him running
 ·4· ·northbound?
 ·5· · · ·A.· ·I ran towards him because I thought he was going to
 ·6· ·run down that field.· So I was kind of like in a foot pursuit
 ·7· ·mode.
 ·8· · · ·Q.· ·Okay.· Did you still have your bean bag shotgun?
 ·9· · · ·A.· ·I did.
 10· · · ·Q.· ·And did you fire anymore rounds at him?
 11· · · ·A.· ·No.
 12· · · ·Q.· ·And why did you not fire anymore rounds at him while
 13· ·you were chasing him?
 14· · · ·A.· ·Because, again, I didn't have the shot, and I don't
 15· ·ever think I ever caught up to him.
 16· · · ·Q.· ·Well, you don't need to totally catch up to him.
 17· · · · · · You just need to be within a certain distance?
 18· · · ·A.· ·Correct.
 19· · · ·Q.· ·Were you aware at that time that a lethal shot had
 20· ·been fired?
 21· · · ·A.· ·At that time, no.
 22· · · ·Q.· ·Did you see him at some point running northbound?
 23· · · ·A.· ·Yes.· After he exited the car.
 24· · · ·Q.· ·And did you ever hear any Tasers going off after he
 25· ·had exited his car the second time?

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 ·1· · · ·A.· ·Yes.
 ·2· · · ·Q.· ·And you believe it was the other sergeant, Sergeant
 ·3· ·Calvert who used the Taser?
 ·4· · · ·A.· ·Yes.· I believe so.
 ·5· · · ·Q.· ·Did you see him going over the fence at some
 ·6· ·point?
 ·7· · · ·A.· ·I didn't see him go over the fence.· I saw him on
 ·8· ·the other side of the fence -- does that make sense?
 ·9· · · · · · I didn't see him on the fence, but I did see him on
 10· ·the other side.
 11· · · ·Q.· ·What did you do after you saw him on the other side
 12· ·of the fence?
 13· · · ·A.· ·I ran around to the entrance of the gate to the
 14· ·yard, and, you know, kind of to see where he went.
 15· · · ·Q.· ·Could you see where he went?
 16· · · ·A.· ·I guess he went to the front door of the
 17· ·residence.
 18· · · ·Q.· ·And what did you do?
 19· · · ·A.· ·I saw him with a female.· I don't know if it was his
 20· ·aunt, but they were kind of tussling over the knife.· So I
 21· ·told -- I tried to clear everybody out, and then I saw that
 22· ·he had an injury on him.· So I cleared the family members off
 23· ·and we handcuffed him.
 24· · · ·Q.· ·Again, when you say the knife, just to make sure I'm
 25· ·clear, you're referring to that bright orange box cutter?

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 ·1· · · ·A.· ·Yes.
 ·2· · · ·Q.· ·Did you see that one of the family members took the
 ·3· ·box cutter away from him?
 ·4· · · ·A.· ·Yes.
 ·5· · · ·Q.· ·And how did they do that?· Basically, just took it
 ·6· ·from his hand?
 ·7· · · ·A.· ·Like I said it, there was kind of a little bit of a
 ·8· ·struggle between the -- I don't know what that -- maybe aunt
 ·9· ·or something, but she -- there were grabbing for the knife
 10· ·for maybe a couple seconds.· But it didn't look like he was
 11· ·like handed to her.
 12· · · · · · Does that make sense?
 13· · · ·Q.· ·But I just want to be clear.
 14· · · · · · You're saying that a female who you believe could
 15· ·have been his aunt took the box cutter away from him?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·And it might have taken her a few seconds to do
 18· ·so?
 19· · · ·A.· ·Correct.
 20· · · ·Q.· ·And then what did she do with the box cutter after
 21· ·she took it away from him?
 22· · · ·A.· ·She threw it on the ground.
 23· · · ·Q.· ·And what did you do at that point?
 24· · · ·A.· ·After we handcuffed him I was tasked with showing a
 25· ·big dog.

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 ·1· · · ·Q.· ·A big dog?
 ·2· · · ·A.· ·Yes, sir.
 ·3· · · ·Q.· ·What did you do with the dog?
 ·4· · · ·A.· ·I walked in the house.· I tried to put him in the
 ·5· ·room and he didn't want to go in.
 ·6· · · ·Q.· ·Okay.
 ·7· · · · · · MR. REPORTER:· Could you keep your voice up just a
 ·8· ·little bit?· You're trailing off.
 ·9· · · · · · THE WITNESS:· Yes, ma'am.
 10· · · · · · MS. REPORTER:· Thank you.
 11· · · · · · MR. FUJII:· Madam Court Reporter, did you catch his
 12· ·last answer?
 13· · · · · · MS. REPORTER:· Yes, I did.
 14· ·BY MR. GALIPO:
 15· · · ·Q.· ·I think he said the dog didn't want to go in; right?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·Are you a dog owner?
 18· · · ·A.· ·No.
 19· · · ·Q.· ·So had a type of dog was this?
 20· · · ·A.· ·It was a big one.· It's like a -- I want to say it
 21· ·was like a half pit bull.· Again, I'm not really good with
 22· ·dogs.· I knew it had some pit bull in it.
 23· · · ·Q.· ·Well, let me ask you this.
 24· · · · · · You said at some point you noticed Mr. Ramos was
 25· ·injured?

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 ·1· · · ·A.· ·Yes.
 ·2· · · ·Q.· ·What did you notice in that regard?
 ·3· · · ·A.· ·He was bleeding.
 ·4· · · ·Q.· ·And do you recall where he was bleeding from?
 ·5· · · ·A.· ·I don't recall.· I think it was from his side, I
 ·6· ·want to say.
 ·7· · · ·Q.· ·And did you know what the source of that injury was
 ·8· ·at that time?
 ·9· · · ·A.· ·No, not at that time.
 10· · · ·Q.· ·Who handcuffed him, if you know?
 11· · · ·A.· ·I believe it was Deputy Alfredo Lopez.
 12· · · ·Q.· ·Were you present when he was handcuffed?
 13· · · ·A.· ·Yes.
 14· · · ·Q.· ·And obviously Mr. Ramos was still alive at that
 15· ·point?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·Could you hear him moaning and groaning a little
 18· ·bit?
 19· · · ·A.· ·I don't recall, sir.
 20· · · ·Q.· ·Were you wondering in your mind how -- what was the
 21· ·source of his injury?
 22· · · ·A.· ·Yeah.
 23· · · ·Q.· ·Were you thinking maybe he cut himself, possibly?
 24· · · ·A.· ·Yeah, well --
 25· · · · · · MR. FUJII:· I don't want you to speculate.

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 ·1· ·before?
 ·2· · · ·A.· ·No.
 ·3· · · ·Q.· ·How about a knife?
 ·4· · · ·A.· ·Yes.
 ·5· · · ·Q.· ·And do you have an estimate as to how many times
 ·6· ·you've seen a suspect with a knife in their hand?
 ·7· · · ·A.· ·Maybe a handful of times, maybe less.
 ·8· · · ·Q.· ·Were you trained as a law enforcement officer that
 ·9· ·you can shoot someone with a firearm merely for seeing a
 10· ·knife in they're hand?
 11· · · ·A.· ·You're asking if I can shoot somebody with a firearm
 12· ·if I see a knife in their hand?
 13· · · ·Q.· ·Yes.· For that fact alone.
 14· · · ·A.· ·No.
 15· · · ·Q.· ·How about a gun, have you seen suspects with guns in
 16· ·they're hand before?
 17· · · ·A.· ·Yes.
 18· · · ·Q.· ·How many times, approximately?
 19· · · ·A.· ·Again, less than a handful of times.
 20· · · ·Q.· ·Were you trained that you can see someone merely
 21· ·for seeing a gun in their hand?
 22· · · ·A.· ·No.
 23· · · ·Q.· ·Were you trained essentially to shoot someone it had
 24· ·to be an immediate threat of death of serious bodily
 25· ·injury?

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 ·1· · · ·A.· ·Yes.
 ·2· · · ·Q.· ·Were you trained that you should give a verbal
 ·3· ·warning when feasible before using deadly force?
 ·4· · · ·A.· ·When feasible, yes.
 ·5· · · ·Q.· ·Now, at some point I heard someone yelling out,
 ·6· ·"Bean bag, bean bag."
 ·7· · · · · · Did you hear that when you listened to the body
 ·8· ·cams?
 ·9· · · ·A.· ·Yes, sir.
 10· · · ·Q.· ·Now, who was that yelling out, "Bean bag, bean bag?"
 11· · · ·A.· ·That was me, sir.
 12· · · ·Q.· ·And you were doing that in part based on your
 13· ·training; correct?
 14· · · ·A.· ·Correct.
 15· · · ·Q.· ·And why is it important based on your training to
 16· ·yell out, "Bean bag, bean bag" before deploying?
 17· · · ·A.· ·Well, it gives a warning to my partners and to the
 18· ·suspect as well because he can hear it too, but so that way
 19· ·my partner don't think I'm deploying, you know, anything else
 20· ·besides the bean bag -- does that make sense?
 21· · · ·Q.· ·Right.· In other words, you don't want them to get
 22· ·confused and think that lethal force is being deployed when
 23· ·they hear the shotgun go off.
 24· · · · · · You want to let them know you're firing
 25· ·less-lethal?

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 ·1· ·car and was running the second time, you thought it was the
 ·2· ·second sound of a Taser?
 ·3· · · ·A.· ·Correct.· Again, when it happened it was --
 ·4· · · · · · MR. FUJII:· Objection.· That misstate his testimony.
 ·5· · · · · · I think that was the first time.
 ·6· · · · · · But go ahead.
 ·7· · · · · · MR. GALIPO:· Let me just make sure we're clear here.
 ·8· · · · · · MR. FUJII:· Yes.· Thank you.
 ·9· · · · · · MR. GALIPO:· You're welcome.
 10· ·BY MR. GALIPO:
 11· · · ·Q.· ·So I'm not talking about the initial stop, just so
 12· ·we're clear.· I'm talking about when he got out of the car
 13· ·the first time after the window was broken and the car moved
 14· ·forward.
 15· · · · · · Are you with me so far?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·That's the time frame you fired the three bean bag
 18· ·rounds; correct?
 19· · · ·A.· ·Correct.
 20· · · ·Q.· ·At that time did you hear any Taser go off?
 21· · · ·A.· ·No.· Not at that time.
 22· · · ·Q.· ·Then he got out of the car the second time and
 23· ·that's when he started running northbound?
 24· · · ·A.· ·Yes.
 25· · · ·Q.· ·And you heard a Taser go off; correct?

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 ·1· · · ·A.· ·Correct.
 ·2· · · ·Q.· ·And shortly thereafter, you heard a loud pop?
 ·3· · · ·A.· ·Correct.· Again, it was because from my vantage
 ·4· ·point I believe it was his, you know, the sounds were close
 ·5· ·together -- does that make sense?
 ·6· · · ·Q.· ·Right.· And you thought that that second sound was a
 ·7· ·second Taser being deployed; correct?
 ·8· · · ·A.· ·No.· I'm not sure what it was.· I just know it was a
 ·9· ·loud sound because it was distinct.· It was different from
 10· ·the Taser.
 11· · · ·Q.· ·So I'm looking at a part of your statement where the
 12· ·detective is talking about that sound and he says, "Did you
 13· ·identify as gunfire or you weren't sure?"
 14· · · · · · And you say, "I -- to be honest, I wasn't sure. I
 15· ·thought it was maybe a second round of a Taser."
 16· · · · · · Do you remember saying that in your statement?
 17· · · ·A.· ·Yeah, I could have.
 18· · · ·Q.· ·And you continue, "Because the Taser makes a loud
 19· ·pop."
 20· · · ·A.· ·Yes.
 21· · · ·Q.· ·So is it fair to say at that point you didn't know
 22· ·if it was a Taser or what that sound was?
 23· · · ·A.· ·Yeah.· It would be fair to say that.
 24· · · ·Q.· ·Because it wasn't till later that you found out that
 25· ·someone had actually fired a lethal round when you heard the

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 ·1· ·dispatch of shots fired?
 ·2· · · ·A.· ·Correct.
 ·3· · · ·Q.· ·Now, did you ever see Mr. Ramos attacking any of his
 ·4· ·family members?
 ·5· · · ·A.· ·No.
 ·6· · · ·Q.· ·Did you ever see him attacking anyone?
 ·7· · · ·A.· ·No.
 ·8· · · ·Q.· ·And where were you positioned when you saw the woman
 ·9· ·you say was his aunt take the box cutter from him?
 10· · · ·A.· ·I was running towards the front door toward the
 11· ·doorway.
 12· · · ·Q.· ·And do you recall which hand Mr. Ramos had it in at
 13· ·the time his -- the woman you thought was his aunt took it?
 14· · · ·A.· ·I can't recall.
 15· · · ·Q.· ·Okay.· There is going to be a little pause because
 16· ·I'm looking at your statement and some of this we've already
 17· ·covered.· So please bear with me.
 18· · · ·A.· ·Okay.
 19· · · ·Q.· ·Now, at some point did you physically touch
 20· ·Mr. Ramos?
 21· · · ·A.· ·Yes.
 22· · · ·Q.· ·And when did you physically touch him?
 23· · · ·A.· ·I want to say maybe when I was handcuffing, and I
 24· ·know I helped him -- I helped the medics place him onto a
 25· ·back board.

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 ·1· · · ·Q.· ·And what was -- what type of physical contact did
 ·2· ·you have with him?
 ·3· · · ·A.· ·What do you mean by that?
 ·4· · · ·Q.· ·You reference in your statement at some point you
 ·5· ·actually touched Mr. Ramos; is that right?
 ·6· · · ·A.· ·Yeah.· I think, again, it's -- I think I assisted
 ·7· ·with the handcuffing and I actually helped place him onto a
 ·8· ·back board.
 ·9· · · ·Q.· ·Okay.· Thank you.
 10· · · · · · When you handcuffed him was he chest-down?
 11· · · ·A.· ·I wasn't the one that handcuffed him.· I believe he
 12· ·was chest-down because I was present.
 13· · · ·Q.· ·I probably should have said when you assisted in
 14· ·handcuffing, was he chest-down?
 15· · · ·A.· ·Yeah.· I believe he was chest-down, sir, because
 16· ·we had him -- place his hands over.
 17· · · ·Q.· ·And is that when you saw the blood?
 18· · · ·A.· ·I saw the blood a little prior to that.
 19· · · ·Q.· ·Okay.· Did you notice anyone having their firearms
 20· ·out before at the scene of the shooting before Mr. Ramos ran
 21· ·northbound?
 22· · · ·A.· ·Yes.
 23· · · ·Q.· ·Who did you notice with their firearm out?
 24· · · ·A.· ·Deputy Charles Lopez and Deputy Kuskowski.
 25· · · ·Q.· ·Did you ever see Sergeant Wheeler with his firearm

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 ·1· · · ·A.· ·Yes, sir.
 ·2· · · ·Q.· ·Would it be fair to say the dog was a handful for
 ·3· ·you?
 ·4· · · ·A.· ·Yes, sir.
 ·5· · · · · · MR. GALIPO:· And is everyone okay with going off the
 ·6· ·record and taking a short break?· I think I'm close to done,
 ·7· ·but I want to look at my notes.
 ·8· · · · · · MR. FUJII:· Yes.
 ·9· · · · · · MR. GALIPO:· Off the record.
 10· · · · · · (Recess taken.)
 11· ·BY MR. GALIPO:
 12· · · ·Q.· ·To your knowledge, was Mr. Ramos the only one in the
 13· ·car?
 14· · · ·A.· ·To my knowledge, yes.
 15· · · ·Q.· ·Did you ever see anyone else in the car?
 16· · · ·A.· ·No.
 17· · · ·Q.· ·And before you got to the end of the pursuit, so
 18· ·before the car ended up in the position that it was stopped
 19· ·in front of the residence, did you observe the vehicle
 20· ·involved in any collisions?
 21· · · ·A.· ·No.
 22· · · ·Q.· ·The speeds were generally moderate, were they not,
 23· ·during the pursuit?
 24· · · ·A.· ·40 or 45-ish.
 25· · · ·Q.· ·You wouldn't consider that a high-speed pursuit,

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 ·1· ·would you?
 ·2· · · ·A.· ·Not a high -- well, not a high-speed pursuit, but
 ·3· ·like I said, in a school zone it would be considered -- if
 ·4· ·that makes sense.· It's 25 miles-an-hour and if you go 45 --
 ·5· ·but it wasn't in a school zone.· That's what I'm trying to
 ·6· ·say.
 ·7· · · ·Q.· ·Right.· That was going to be my next question.
 ·8· · · · · · And did you -- I might have asked this, but did you
 ·9· ·ever hear Mr. Ramos verbally threaten to harm anyone?
 10· · · ·A.· ·No.
 11· · · ·Q.· ·When you -- so this is the second time he got out.
 12· · · · · · That's when you heard the Taser; is that correct?
 13· · · ·A.· ·Correct.
 14· · · ·Q.· ·And you believe Sergeant Calvert deployed the
 15· ·Taser?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·And how soon after you heard the Taser did you hear
 18· ·that other sound?
 19· · · ·A.· ·Like I said, it was almost simultaneous.· It was
 20· ·maybe within couple seconds.
 21· · · ·Q.· ·When you heard the first Taser could you see
 22· ·Mr. Ramos?
 23· · · ·A.· ·When I heard the Taser I think he was running still
 24· ·when I want to say.· I'm not positive.· I think I can see him
 25· ·when I heard the Taser.

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 ·1· · · · · · MR. FUJII:· Objection.· I think that misstates his
 ·2· ·prior testimony.
 ·3· · · · · · THE WITNESS:· Yeah.
 ·4· · · · · · MR. GALIPO:· That's what I'm trying to find out.
 ·5· ·BY MR. GALIPO:
 ·6· · · ·Q.· ·You indicated when the first Taser or the sound you
 ·7· ·heard that was a Taser, he was close to the car at that
 ·8· ·point?
 ·9· · · ·A.· ·Correct.
 10· · · ·Q.· ·And at some point after that are you saying he
 11· ·started running?
 12· · · ·A.· ·I want to say he started going northbound -- does
 13· ·that make sense?· I don't know if he was running or walking
 14· ·or --
 15· · · ·Q.· ·Right.· But what I'm wondering is did he start going
 16· ·northbound almost immediately after you heard the first
 17· ·Taser?
 18· · · ·A.· ·I can't give you a time frame on it, sir.
 19· · · · · · I mean, like, I just know I heard the Taser, and,
 20· ·like, you know, next thing somebody calling out he was
 21· ·running northbound and that's when I started running.
 22· · · ·Q.· ·The only reason is I'm just trying to put everything
 23· ·together because you're telling me that you think you could
 24· ·see him when you heard the first Taser, and after the first
 25· ·Taser, you started running?

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 ·1· · · ·A.· ·Correct.
 ·2· · · ·Q.· ·Because I'm assuming because he started running?
 ·3· · · ·A.· ·He wasn't at the car anymore, and I was trying to
 ·4· ·see where he went.
 ·5· · · ·Q.· ·But was he in your vision when you heard the first
 ·6· ·Taser?
 ·7· · · ·A.· ·Yeah.· I think he was near the car when I heard the
 ·8· ·first Taser.
 ·9· · · ·Q.· ·Okay.· All right.
 10· · · · · · I think that's all the question that I have.
 11· · · · · · Will you be okay if I don't ask you anymore
 12· ·questions?
 13· · · ·A.· ·I'll be okay with that, sir.
 14· · · · · · Thank you.
 15· · · ·Q.· ·Okay.· You're welcome.
 16· · · · · · MR. GALIPO:· Counsel, do you have any questions of
 17· ·the deputy today?
 18· · · · · · MR. FUJII:· No.· Just the same thing.
 19· · · · · · Madam Court Reporter, can you put the sole -- I
 20· ·think it's one exhibit, separately bound.
 21· · · · · · And then I will stipulate -- is 30 days fine for
 22· ·you?
 23· · · · · · THE WITNESS:· Yeah.· Sure.
 24· · · · · · MR. FUJII:· I will stipulate to the same
 25· ·stipulation.· If you want to go over just to clarify the

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